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                                                                                                      United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                           January 16, 2024
                             FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

                                                                         Chapter 7
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                                Case No. 23-90147 (EVR)

                                       Debtors. 1                        (Jointly Administered)

     STIPULATION REGARDING EXTENSION OF SCHEDULING DEADLINES AND
    RESCHEDULING OF HEARING IN CONNECTION WITH CHAPTER 11 FINAL FEE
             APPLICATIONS AND RESERVE DISTRIBUTION MOTION

                                          [Related to Docket No. 1632]


             WHEREAS, on October 3, 2023, Pachulski Stang Ziehl & Jones LLP (“PSZJ”), former

counsel to the above captioned Debtors (the “Debtors”), filed the Motion of Former Counsel for

the Debtors for Entry of an Order Authorizing the Payment of Estate Professionals’ Fees Pursuant

to Final DIP Order and Professional Fee Order [Docket No. 1519] (the “Reserve Distribution

Motion”).

             WHEREAS, on November 1, 2023, the Court approved and ordered the Stipulation

Regarding Scheduling Deadlines and Hearing in Connection with Chapter 11 Final Fee

Applications and Reserve Distribution Motion [Docket No. 1632] (the “Scheduling Order”), which

established certain deadlines and scheduled a hearing.




1
      A complete list of each of the Debtors in these chapter 7 cases may be obtained for a fee at the Court’s website at
      http://ecf.txsb.uscourts.gov. A login identification and password to the Court’s Public Access to Court Electronic
      Records (“PACER”) are required to access this information and can be obtained through the PACER Service
      Center at http://www.pacer.psc.uscourts.gov. The location of Debtor Mountain Express Oil Company’s principal
      place of business and the Debtors’ service address in the chapter 11 cases was 3650 Mansell Road, Suite 250,
      Alpharetta, GA 30022.


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          WEHREAS, on November 13, 2023, McDermott Will & Emery LLP (“MWE”) and

Province, Inc. (“Province”) each filed their Final Fee Applications [Docket Nos. 1710 and 1711,

respectively].

          WHEREAS, on November 15, 2023, Akerman LLP (“Akerman”), Lugenbuhl, Wheaton,

Peck, Rankin & Hubbard (“Lugenbuhl”), PSZJ, Raymond James & Associates, Inc. (“RJA”), FTI

Consulting, Inc. (“FTI”), and Axinn, Veltrop & Harkrider LLP (“Axinn”) each filed their Final

Fee Applications (defined below) [Docket Nos. 1718 2 , 1720, 1721, 1722, 1724 and 1725,

respectively].

          WHEREAS, pursuant to the Scheduling Order, November 15, 2023 was the deadline to

file the Final Fee Applications and January 15, 2024 is the current deadline to file (a) objections

to any of the Final Fee Applications and (b) any supplemental objection to the Reserve Distribution

Motion.

          WHEREAS, for the benefit of the Court and the Chapter 7 Trustee, and the efficient

administration of these estates, each of the undersigned professionals: (i) PSZJ, (ii) FTI, (iii) RJA,

(iv) Akerman, (v) Axinn, (vi) Lugenbuhl, (vii) MWE, and (viii) Province have agreed with the

Trustee and First Horizon Bank, as Administrative Agent, to an extension of the deadlines and

hearing in the Scheduling Order (this “Stipulation”) set forth below for the timing and hearing for

each of their final fee applications (the “Final Fee Applications”) and for consideration of the

Reserve Distribution Motion.

    NOW, THEREFORE, IT IS STIPULATED AND AGREED TO BY THE PARTIES,
AND UPON APPROVAL BY THE COURT OF THIS STIPULATION, IT IS SO
ORDERED AS FOLLOWS:




2
 Docket No. 1718 is Akerman’s Amended Final Fee Application, amended Docket No. 1533 filed on October 9,
2023.


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          1.        The above recitals are incorporated by reference herein with the same force and

effect as if fully set forth hereinafter.

          2.        The deadline to file (a) objections to any of the Final Fee Applications and (b) any

supplemental objection to the Reserve Distribution Motion for the Trustee and First Horizon Bank

only shall be February 29, 2024 (the “Objection Deadline”).

          3.        The deadline to file replies to any objections to the Final Fee Applications or the

Reserve Distribution Motion shall be fifteen (15) days following expiration of the Objection
                                     xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

Deadline. March 1, 2024.
xxxxxxxx

          4.        A hearing on the Final Fee Applications originally set for February 15, 2024 at 9:00
                          March 29
a.m. CST shall be held on ____________________, 2024, electronically via gotomeeting, at

_______
9:00    ___.m.,
         a      CST.

          5.        This Stipulation may be executed by electronic means and the printed product of

such shall constitute an original of this Stipulation.

          6.        Notwithstanding anything in the Bankruptcy Code or the Bankruptcy Rules to the

contrary, this Stipulation shall be effective immediately upon Bankruptcy Court approval thereof.

          7.        The Bankruptcy Court shall have exclusive jurisdiction and power regarding the

implementation, interpretation, and enforcement of this Stipulation.

        January 16, 2024
Signed: __________________________
Signed:

                                                          Eduardo V. Rodriguez
                                                          Chief United States Bankruptcy Judge
                                                                 Eduardo V. Rodriguez
                                                          Chief United States Bankruptcy Judge




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AGREED AS TO FORM AND CONTENT:

Dated: January 15, 2024

 /s/ Jeffrey W. Dulberg (with permission)           /s/ Shari L. Heyen (with permission)
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 Former Counsel to the Debtors


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